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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 16-1357V
                                     Filed: March 24, 2017
                                          Unpublished

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DOUGLAS A. FREEDMAN,                    *
                                        *
v.                                      *
                   Petitioner,          *     Ruling on Entitlement; Concession;
                                        *     Influenza Vaccination;
                                        *     Shoulder Injury Related to Vaccine
SECRETARY OF HEALTH                     *     Administration (“SIRVA”);
AND HUMAN SERVICES,                     *     Special Processing Unit (“SPU”)
                                        *
                   Respondent.          *
                                        *
****************************
Tara O’Mahoney, Law Offices of Chicago-Kent College of Law, Chicago, IL, for
      petitioner.
Lisa Watts, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

       On October 18, 2016, Douglas A. Freedman (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act” or “Program”). Petitioner alleges that he
suffered shoulder pain and restricted range of motion caused-in-fact by the influenza
vaccine he received on October 23, 2013. Petition at 1, ¶¶ 4, 41. Petitioner further
alleges that he received the vaccination in the United States, has suffered the residual
effects of his injury for more than six months, and that he has never received
compensation for his injury alleged as vaccine caused. Id. at ¶¶ 4, 19 45. The case
was assigned to the Special Processing Unit of the Office of Special Masters.


1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended
at 44 U.S.C. § 3501 note (2012)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       On March 23, 2017, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent “agrees that petitioner’s SIRVA was more likely than not
caused by the October 23, 2013, flu vaccination.” Id. at 4. Respondent further indicates
that “based on the record as it now stands, petitioner has satisfied all legal prerequisites
for compensation under the Act.” Id. at 5.

       In view of respondent’s concession and the evidence before me, I find that
petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master




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